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_ UNITED STATES DISTRICT COURT
‘MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA > CR. NO. 3:23-CR: 149
Vv.
a (Judge Mannion)
DARYL RINKER, -
Defendant. 89: ~~~ FILED.
: _ SCRANTON
INFORMATION MAY 31 2023
PER OJ KO
THE UNITED STATES ATTORNEY CHARGES: DEPUTY CLERK
~ COUNT 1
18 U.S.C. §371

(Conspiracy to Commit Concealment and Disposal of Major Artwork, and
Interstate Transportation of Stolen Property)

' I. Introduction
At all times material to the Information:

1 The Defendant is a resident of the Commonwealth of
Pennsylvania.

2, A “museum” as defined in Title 18,, United States Code,
Section 668, is an organized and permanent institution, the activities of .
which affect interstate and foreign commerce, that is (a) situated in the -
United States; (b) is established for an essentially educational and

( . . .
aesthetic purpose; (3) has a professional staff, and: (4) owns, utilizes, and -
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cares for tangible items that are exhibited to the public on a regular
schedule.

3. An “object of cultural heritage,” as defined in Title 18, United
States Code, Section 668, is an object that is either over 100 years old and
worth in excess of $5,000 or that is less than 100 years old and worth at
least $100,000. _

4. The following institutions are all situated in the United
States, have been established for essentially educational or aesthetic
purposes, have professional staffs, own, utilize, or care for tangible items
that are exhibited to the public on a regular schedule, and are “museums”
. as defined in Title 18, United States, Code, Section 668:

a) The Space Farms: Zoo & Museum located in Wantage, New

Jersey; -

b) Ringwood Manor located in Ringwood, New Jersey;

5. The following items are “objects of cultural heritage,” as
defined in Title 18, United States Code, Section 668, in that they are
either over 100 years old and worth in excess of $5,000 or are less than
100 years old and worth at least $100,000:

a) A WF. Mills-& son Model 1860 7-barrel percussion, serial

number 2193 (“Tiger Gun”);
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b) Colt Model 1839 Revolving Shotgun »

‘6. From in or about August of 1999 and continuing through in or
about April of 2019, in the Middle District of Pennsylvania, the District of :
New J ersey, and elsewhere, the Defendant,

DARYL RINKER, »
did knowingly, intentionally, and unlawfully combine, conspire,
confederate, and agree with others, to commit an offense against the
United States, that is: knowing that certain objects of cultural heritage
had been stolen or obtained by fraud, if in fact the object had been stolen’
or obtained by fraud from the care, custody, or control of a museum,
received, concealed, exhibited, or disposed of the objects, and: transported
in interstate or foreign commerce goods, wares, merchandise, securities or
money, of the value of $5,000 or more, knowing the same to have been

_stolen, converted, or taken by fraud, in violation of Title.18, United States

Code, Section 668(b) (2), and Title 18, United States Code, Section 2314.

IL. © Manner and Means and Purpose of the Conspiracy
7. It was part of the conspiracy that members of the conspiracy
visited museums and other locations, stole and removed objects, including

objects of cultural heritage, from therein.
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8. It was part of the conspiracy that the conspirators would sell
. the stolen items to each other and to other individuals, both known and |
unknown to the Government, for cash.

9. It was part of the conspiracy that the conspirators would
transport the above-described stolen items to residences and other
property owned by members of the conspiracy in order to conceal the
objects from law enforcement investigators.

III. Overt Acts .

10. In furtherance of the conspiracy and in order to effect the
objects thereof, one or more of the conspirators committed and caused to
be committed the following overt acts, in the Middle District of
Pennsylvania, and elsewhere:

a) After June 28, 2008, a member of the conspiracy offered to sell

a stolen 1857 Colt Walker .44 caliber. 6-shot percussion revolver
to Daryl RINKER for $6,000.
‘-b) On or about March 2, 2011, two of the members of the
' conspiracy entered Ringwood Manor located in Ringwood, New
Jersey, without authorization, smashed several display cases |

and stole and removed several objects of cultural heritage,

including but not limited to a W.F. Mills & Son Model 1860 7-
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°)

d)

e)

f)

g)

barrel percussion rifle, a/k/a “Tiger Gun,” worth approximately
$250,000.

After March 2, 2011, a member of the conspiracy possessed the _

" W.F. Mills & Son Model 1860 7-barrel percussion rifle and sold

the firearm to Daryl RINKER. —

On or about February 21, 2018, a member of the conspiracy

-smashed the front door of Antique’s Exchange, an antiques

store located: in Hawley, Pennsylvania, and entered the store

without authorization.

On or about February 21, 2018, while inside Antique’s

-Exchange, the conspirator described above in subparagraph (d)

smashed a display case, and stole and removed objects
displayed therein including, but not limited to, antique coins
and jewelry.

On or about or after February 21, 2018, a conspirators sold

several coins described above in subparagraph (e) to Daryl

' RINKER.

Prior to March 18, 2018, while at the residence of another
member of the conspiracy, Daryl RINKER informed a third

conspirator, that RINKER had seen a large bag filled with
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h)

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j)

k)

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m) ©

silver coins at Cade’s Coins, a store located in Exeter,
Pennsylvania.

Prior to March 18, 2018, Daryl RINKER drew a map of the
interior of Cade’s Coins on the ground with the purpose of
aiding the other conspirator in the planned break-in and theft
from Cade’s Coins.

On or about March 18, 2018, a member of the conspiracy
smashed open the door of Cade's Coins and entered the store
without authorization.
On or about March 18, 2018, while inside Cade’s Coins, the
conspirator described above in subparagraph Gi) smashed
multiple display cases and stole and removed objects displayed

therein including, but not limited to, rings, coins, and jewelry.

_ On or about or after March 18, 2018, a conspirator gave

several of the rings, coins, and jewelry stolen from Cade’s

Coins, described above in subparagraph (j).to Daryl RINKER.
‘On or about September 19, 2019, Daryl RINKER possessed the >

- items described above in subparagraph G) and (k).

On or about August 8, 2018, a conspirator entered the Space

Farms: Zoo & Museum located in Wantage, New Jersey,
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n)

o)

p)

q)

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without authorization, and smashed several display cases
found therein with an axe.

On or about August 8, 2018, the conspirator described above in
subparagraph (m) stole and removed an object of cultural

heritage, namely a Colt Model 1839 revolving shotgun worth

approximately $32,500 from the Space Farms: Zoo and

Museum.

On or about August 8, 2018, a conspirator transported the Colt
Model 1839 revolving shotgun stolen from the Space Farms:
Zoo and Museum from Wantage, New Jersey, to Lackawanna
County, Pennsylvania.

On or about or after August 8, 2018, a member of the

- conspiracy sold the Colt Model 1839 revolving shotgun stolen

from the Space Farms: Zoo and Museum, described above in
subparagraph (n) to Daryl RINKER.

On or about September 19, 2019, Daryl RINKER possessed the
Colt Model 1839 revolving shotgun stolen from the Space

Farms: Zoo and Museum, described above in subparagraph (n).

All in violation of Title 18, United States Code, Section 371.
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THE UNITED STATES ATTORNEY FURTHER ALLEGES:

-. FORFEITURE ALLEGATION

16. The allegations contained in Count 1 of this Information are
hereby realleged and incorporated by reference for the purpose of alleging
forfeiture pursuant to Title 18, United States Code; Section 981(a)()(C) |

and Title 28, United States Code, Section 2461(c).

17. Pursuant to Title 18, United States Code, Section 981(a)(1)(C)
and Title 28, United States Code, Section 2461(c), upon conviction of the
offenses in violation of Title 18, United States Code, Sections 371, the

defendant,
- DARYL RINKER,

shall forfeit to the United States of America, atiy property, real or
personal, involved in such offenses, or any property traceable to such
property, including but not limited to:
a) A W.F. Mills & Son Model 1860 T-barrel percussion rifle,
serial number 2193 (“Tiger Gun”);

b) Colt Model 1839 Revolving Shotgun
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If any of the property described above, as a result of any act or

’ omission of the defendant:

a. cannot be located upon the exercise of due diligence:

b. has been transferred or sold to, or deposited with, ‘a third

party;
c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be _
divided without difficulty,

the United States of America shall be entitled to forfeiture of
substitute property pursuant to Title 21, United States Code, Section

' 853(p), as incorporated by Title 28, United States Code, Section 2461(c).
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All pursuant to Title 18, United States Code, Section 981(a)(1)(C)

and Title 28, United States Code, Section 2461(c).

GERARD M. KARAM
United States Attorney

aps BUCHANAN
sistant United States Attorney

Date: c [s/ 9-02.

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